Case:16-08946-BKT13 Doc#:128-1 Filed:12/16/19 Entered:12/16/19 13:42:35                                Desc:
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                              UNITED STATES BANKRUPTCY COURT
                                      District of Puerto Rico

 In re:


 YADIRA VARGAS TIRADO                                    Case No. 16−08946 BKT
                        Debtor(s)                        Chapter 13
 DLJ MORTGAGE CAPITAL INC.,

                         Movant

 YADIRA VARGAS TIRADO

 JOSE RAMON CARRION MORALES

                     Respondent(s)

             NOTICE OF MOTION FOR RELIEF FROM STAY UNDER II U.S.C. §362

  To the above named respondent(s), YADIRA VARGAS TIRADO and JOSE RAMON CARRION
 MORALES:

    You are hereby notified that on December 16, 2019 the above named movant (s) filed a Motion
 Seeking relief from the Automatic Stay under U.S.C. §362

    Service of the motion and notice shall be made within three (3) days after issuance of the notice. A
 certificate of service must be file forthwith, but not later than seven (7) days after service is done. If
 the certificate of service is not timely filed, the Court may deny the motion for failure to give notice
 within three (3) days from issuance.

    You must file an answer to the motion within fourteen (14) days from the service of this notice,
 and serve such answer upon movant or his attorney PATRICIA I VARELA HARRISON whose
 address is PO BOX 192938, SAN JUAN, PR 00919

 IF YOU FAIL TO TIMELY ANSWER AS SET FORTH HEREIN, AN ORDER MAY BE
 ENTERED AGAINST YOU GRANTING THE RELIEF REQUESTED BY THE MOVANT.

    If a timely answer is filed, then January 14, 2020 at 09:00 AM at the United States Bankruptcy
 Court, U.S. Post Office and Courthouse Bldg.,300 RECINTO SUR STREET, COURTROOM 1
 SECOND FLOOR, SAN JUAN, PR 00901, is fixed as the time and place for the preliminary and/or
 final hearing on such motion.




                                                      By: JOSE ROMO
                                                      Deputy Clerk
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Local Bankruptcy Rules for the District of Puerto Rico effective May 16, 2013 has established the following
procedure for Motions Requesting Lifting of the Automatic Stay

It appearing that pursuant to the provisions of §362 of the Bankruptcy Code, the Court is required to conduct
prompt hearing with respect to motion for relief from the automatic stay and it further appearing that it is
necessary to enter certain order to permit the Court to conduct the aforesaid prompt hearings, the following
procedures shall govern motion filed under 11 U.S.C. §362

     1. Service of the Motion and of a Notice shall be made within three (3) days after issuance of the notice.


     2. The respondent shall file an answer within fourteen (14) days after the issuance of the notice.


     3. The specific date for the preliminary hearing is set forth in the notice.


     4. Pursuant to §362 (e) of the Code, the hearing date specified in the notice may be a preliminary hearing
        or may consolidated with the final hearing, as shall be determined by the Court.


     5. Together with any motion requesting relief from the automatic stay, movant shall file with the Court the
        following supporting exhibits and documents:

              a. True copies of all notes, bonds, mortgages, security agreemnts, financing agreements,
                 assignments and any other document upon which the movant will rely athe hearing
              b. A detailed report of any appraiser whose testimony is to be presented at the hearing. Said detail
                 report shall include the qualifications of the appraiser, the factual basis for the appraisal,
                 including comparable sales if utilized and the method of appraisal.
              c. A statement of amount due including a breakdown of the following categories:

                      1. Unpaid principal
                      2. Accrued interest from a specific sate to a specific date
                      3. Late charges from a specific date to a specific date
                      4. Attorney's fees
                      5. Advances for taxes, insurance and the like
                      6. Unearned interest
                      7. Any other charges
                      8. A per diem interest factor


     6. If the motion is contested, the attorneys for the parties shall confer with respect to the issues raised by
        the motion in advance of hearing for the purpose of stipulating to relevant facts as the value of the
        property, and to the extent and validity of any security instrument.
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                                         CERTIFICATE OF SERVICE

  I certify under penalty of perjury that I served a copy of the within Notice and Motion upon
__________________________________________________________________________________________
 on _________________________________ By: _______________________________
               (Date of Service)                        (Describe Mode of Service)
Executed on _______________________                                _____________________________________
                      (Date)                                                         SIGNATURE
